       Case 18-36221-KRH               Doc 19    Filed 02/06/19 Entered 02/06/19 13:57:47             Desc Main
                                                 Document     Page 1 of 4
                                        UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF VIRGINIA
                                               RICHMOND DIVISION

In re: Stewart Wayne Capps                                 )               Case No:       18-36221
       Candice Marie Capps                                 )               Chapter 13
       aka Candice Marie Alexander                         )

                                           OBJECTION TO CONFIRMATION
            COMES NOW, Susan H. Call, Counsel for Carl M. Bates the Chapter 13 Trustee, and moves this
Court to deny confirmation of the Chapter 13 Plan filed on January 2, 2018, for the cause as follows:

         1. The Debtor filed this Chapter 13 Petition on December 11, 2018 under 11 U.S.C. Chapter 13, now
            pending in the United States Bankruptcy Court, Eastern District of Virginia, Richmond Division.

         2. This Objection is filed pursuant to 11 U.S.C. 1325 (b) (1) (B).

         3. The above filed Chapter 13 Plan fails to provide that all of the debtor’s projected disposable income
            in the applicable commitment period will be applied to the plan payments, shown by:

                  a.      Upon evidence and belief, the Debtors understate income on Schedule I, and 22C, the
                          Trustee requests six months of stubs from all sources to include the part time income.

                  b.      The Trustee requests all stubs since filing and for proof of any decreases in income and
                          permanent loss of overtime, and to be updated on any changes in income until this objection
                          is resolved, and in the future, if income is corrected, the debtor would be above median and
                          need to complete form 22C.

                  c.      The Trustee requests proof of all transportation expenses for three months prior to filing.

                  d.      The Trustee requests six months of proof of out of pocket help for the Mother and Brother
                          paid by the debtors and how those payments meets the requirements of 11 USC
                          707(b)(2)(A)(ii)(II).

                  e.      The debtors adjust off income for the daughter on line 43 and then again on line 46.

                  f.      The debtors also deduct vehicle payments on line 43 and 33 Which appear to be a
                          duplication.

                  g.      The debtors also duplicate vehicle operating expense on line 12 and line 43.

                  h.      The debtor deducts for health insurance and based upon testimony, the health insurance is
                          not paid by the debtors.


Susan H. Call, Esquire
Staff Counsel for
Carl M. Bates
P.O. Box 1819
Richmond, VA 23218-1819
(804) 237-6800
VSBN 34367
       Case 18-36221-KRH              Doc 19    Filed 02/06/19 Entered 02/06/19 13:57:47           Desc Main
                                                Document     Page 2 of 4
                  i.       The Chapter 13 Trustee would suggest that all disposable income be paid into the Chapter
                          13 Plan.

        WHEREFORE, for the reasons stated herein, the Chapter 13 Trustee, by Counsel, Susan H. Call,
respectfully moves the Court to deny confirmation of the Debtors’ proposed Chapter 13 Plan as filed with the
Court, and for such further and other relief as in the premises may seem just.

Date: February 6, 2019                                           /s/Susan H. Call
                                                                 Susan H. Call, Counsel for
                                                                 Carl M. Bates
                                                                 Chapter 13 Trustee


                                                  Certificate of Service

       I hereby certify that on February 6, 2019, I have mailed or hand-delivered a true copy of the foregoing
Objection to Confirmation to the debtor(s), Stewart Wayne and Candice Marie Capps, 382 Mitchells Mill Road,
Aylett, VA 23009            and electronically sent to debtor’s attorney, Nupa Agarwal, Esquire,
agarwaligotnotices@gmail.com.
                                                                  /s/Susan H. Call
                                                                  Susan H. Call, Counsel for
                                                                  Carl M. Bates, Chapter 13 Trustee




Susan H. Call, Esquire
Staff Counsel for
Carl M. Bates
P.O. Box 1819
Richmond, VA 23218-1819
(804) 237-6800
VSBN 34367
       Case 18-36221-KRH           Doc 19    Filed 02/06/19 Entered 02/06/19 13:57:47             Desc Main
                                             Document     Page 3 of 4
                                   UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF VIRGINIA
                                          RICHMOND DIVISION

In re: Stewart Wayne Capps                             )              Case No:        18-36221
       Candice Marie Capps                             )              Chapter 13
       aka Candice Marie Alexander                     )

         Debtor Address         382 Mitchells Mill Road
                                Aylett, VA 23009

         Last four digits of Social Security No(s).:   0906
                                                       0063

                               NOTICE OF OBJECTION TO CONFIRMATION

        Susan H. Call, Counsel for Carl M. Bates the Chapter 13 Trustee, has filed papers with the Court
objecting to confirmation of your Chapter 13 Plan, which was filed in this case.

       Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
consult one).

        If you do not want the Court to grant the relief sought in the Objection, or if you want the Court to
consider your views on the Objection, then on or before three (3) days before the date of the hearing, you or
your attorney must:

   X             File with the court, at the address shown below, a written request for a hearing [or a written
response pursuant to Local Bankruptcy Rule 9013-1(H)]. If you mail your request for hearing (or response) to
the court for filing, you must mail it early enough so the court will receive it on or before the date stated above.

                                        Clerk of Court
                                        United States Bankruptcy Court
                                        701 East Broad Street, Suite 4000
                                        Richmond, VA 23219

                  You must also mail a copy to:

                                        Susan H. Call, Counsel for
                                        Carl M. Bates
                                        Chapter 13 Trustee
                                        P.O. Box 1819
                                        Richmond, VA 23218


Susan H. Call, Esquire
Staff Counsel for
Carl M. Bates
P.O. Box 1819
Richmond, VA 23218-1819
(804) 237-6800
VSBN 34367
       Case 18-36221-KRH         Doc 19    Filed 02/06/19 Entered 02/06/19 13:57:47            Desc Main
                                           Document     Page 4 of 4

              Attend a hearing to be scheduled at a later date. You will receive separate notice of hearing. If
no timely response has been filed opposing the relief requested, the court may grant the relief without
holding a hearing.

  X            Attend the hearing on the objection scheduled to be held on February 13, 2019 at 11:10 am at
United States Bankruptcy Court, 701 East Broad Street, Richmond, VA 23219, Room 5000.

       If you or your attorney do not take these steps, the court may decide that you do not oppose the relief
sought in the objection and may enter an order granting that relief.

Date: February 6, 2019                                       /s/Susan H. Call
                                                             Susan H. Call, Counsel for
                                                             Carl M. Bates
                                                             Chapter 13 Trustee
                                                             P.O. Box 1819
                                                             Richmond, VA 23218-1819
                                                             VSBN 34367



                                             Certificate of Service

       I hereby certify that on February 6, 2019, I have mailed or hand-delivered a true copy of the foregoing
Notice of Objection to Confirmation to the debtor(s) Stewart Wayne and Candice Marie Capps, 382 Mitchells
Mill Road, Aylett, VA 23009 and electronically sent to debtor’s attorney, Nupa Agarwal, Esquire,
agarwaligotnotices@gmail.com.

                                                                      /s/Susan H. Call
                                                                      Susan H. Call, Counsel for
                                                                      Carl M. Bates
                                                                      Chapter 13 Trustee




Susan H. Call, Esquire
Staff Counsel for
Carl M. Bates
P.O. Box 1819
Richmond, VA 23218-1819
(804) 237-6800
VSBN 34367
